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      Non-Privileged and Unclassified Summary of Otherwise Privileged Information
2011 Designation
Ayman JOUMAA leveraged several associates to coordinate money laundering pickup
operations. Ayman JOUMAA and the JOUMAA DTO used JOUMAA’s company to launder
currency from the U.S. and Canada to Colombia and Lebanon, as well as transferred money from
Europe to Lebanon via West Africa. Ayman JOUMAA worked with various associates to traffic
cocaine to the Middle East and launder money for a drug trafficking organization in South
America. Ayman JOUMAA directed bulk currency pickups and trade based money laundering
via HASSAN AYASH EXCHANGE COMPANY and ELLISSA EXCHANGE COMPANY.
JOUMAA used these entities to transfer funds derived from the proceeds of drug trafficking to
the United States through various used car dealerships. Vehicles are subsequently purchased and
shipped to the Middle East. The proceeds from these activities are later reinvested in criminal
activities. Ayman JOUMAA is a contact for Black Market Peso Exchange (BMPE) broker Pedro
Clavel Mejia-Salazar in laundering drug proceeds. For example, one transaction was in or about
2007 in which JOUMAA was involved in a pickup of 100,000 euros in France, which were
ultimately seized by French authorities. Ayman JOUMAA created NEW LINE EXCHANGE to
further conceal his money laundering operations. Funds from NEW LINE EXCHANGE were
transferred to HASSAN AYASH EXCHANGE before being wired to various international
companies and individuals. In 2008, Ayman JOUMAA explored options to launder 4.5 million
euros from Spain to China. Ayman JOUMAA was involved in laundering drug proceeds by
smuggling cashier’s checks into Lebanon. The checks were payments for loads of cocaine
smuggled into Lebanon. The drugs were traced back to Maicao, Colombia.
2018 Denial
As of July 2011, a Colombian individual was laundering drug proceeds for Ayman JOUMAA.
JOUMAA stated to several individuals that his money laundering business had been negatively
affected by his OFAC designation. As of March 2013, a Colombian money launderer, later
designated as an SDNT by OFAC, uses Ayman JOUMAA to launder money in Europe. As of
2013, Ayman JOUMAA facilitates money pick-ups in Europe for a Colombian money launderer,
later designated as an SDNT by OFAC. As of 2014, Ayman JOUMAA is associated with a
designated SDNT individual in the pick up of bulk drug proceeds in Europe to launder to
Colombia. As of 2016, Ayman JOUMAA oversees money laundering operations between
Lebanon, Colombia, and Venezuela. As of June 2016, Ayman JOUMAA is noted to currently be
the leader of a group of money launderers. As of November 2016, Ayman JOUMAA utilized a
shipping company associated with a previously OFAC designated individual to move money.
Ayman JOUMAA is moving large sums of money across different continents and is noted to
allegedly move $200 million dollars a month on behalf of a designated entity. JOUMAA
discussed a business partnership with previously designated individuals to move cars from the
U.S. to Europe and Africa and deliberated on a trade-based money laundering tactic. JOUMAA
also shipped arms and currency in containers through Europe.




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